       Entered on Docket April 20, 2021                    Below is the Order of the Court.




                                                            _________________________
 1                                                          Timothy W. Dore
                                                            U.S. Bankruptcy Court
 2
                                                            (Dated as of Entered on Docket date above)
 3

 4

 5

 6 __________________________________________________________________________

 7

 8

 9                         UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10

11
      In re Nicholas Clifton Barnard,                        No. 20-11870 – TWD
12
                             Debtor.                         EX PARTE ORDER FOR
13                                                           WITHDRAWAL OF MICHELLE
                                                             C. KAPLAN
14

15           THIS MATTER came before the Court on the Ex Parte Stipulation of Nicholas C.

16    Barnard (“Debtor”) to allow his Counsel, Michelle Carmody Kaplan, of Kaplan Law PLLC,

17    to withdraw. ECF No. 59. The Debtor signed the Stipulation and the proposed order.

18    The Court, having reviewed the Stipulation (ECF No. 59), and being fully advised, it is
19    hereby ORDERED that:
20
             1.      Michelle C. Kaplan of Kaplan Law PLLC is granted leave to withdraw as
21
      counsel for Nicholas C. Barnard in this case effectively immediately and is fully discharged
22
      of any further responsibility for the representation of the Debtors related to this proceeding.
23
      ///
24

25

26


      Ex Parte Order re Stipulated Withdrawal - 1                         KAPLAN LAW PLLC
                                                                          2155 - 112th Ave. NE
                                                                          Bellevue, WA 98004
                                                                          Phone: 425-818-4818
     Case 20-11870-TWD         Doc 69     Filed 04/20/21     Ent.   04/20/21Fax: 425-484-4444
                                                                              10:23:31      Pg.    1 of 2
 1           2.       All further notices should be sent directly to the last known address of the

 2    Debtors at:
 3
                                             Nicholas C. Barnard
 4                                           6806 Oswego PL NE, #101
                                             Seattle, WA 98115
 5                                           206-457-6045
                                             nick@inmff.net
 6

 7
       Dated this 19th of April 2021.
 8

 9    Presented by:

10

11    KAPLAN LAW PLLC
12

13    By: /s/ Michelle C. Kaplan
          Michelle Carmody Kaplan
14        WSBA No. 27286

15

16

17

18

19

20

21

22

23

24

25

26


      Ex Parte Order re Stipulated Withdrawal - 2                        KAPLAN LAW PLLC
                                                                          2155 - 112th Ave. NE
                                                                          Bellevue, WA 98004
                                                                          Phone: 425-818-4818
     Case 20-11870-TWD         Doc 69     Filed 04/20/21     Ent.   04/20/21Fax: 425-484-4444
                                                                              10:23:31      Pg.   2 of 2
